Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 1 of 10




                                                                   E
                                                                   X
                                                                   H
                                                                   I
                                                                   B
                                                                   I
                                                                   T

                                                                   1



               EXHIBIT 1
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 2 of 10



                                                                                              1   Jason Barrat; AZ Bar No. 029086
                                                                                                  Jessica Miller; AZ Bar No. 031005
                                                                                              2
                                                                                                  ZOLDAN LAW GROUP, PLLC
                                                                                              3   14500 N. Northsight Blvd., Suite 133
                                                                                                  Scottsdale, AZ 85260
                                                                                              4   Tel & Fax: 480.442.3410
                                                                                              5   jbarrat@zoldangroup.com
                                                                                                  jmiller@zoldangroup.com
                                                                                              6
                                                                                                  Attorneys for Plaintiff
                                                                                              7
                                                                                                  Noel Hendrix
                                                                                              8
                                                                                                                            UNITED STATES DISTRICT COURT
                                                                                              9
                                                                                             10                                    DISTRICT OF ARIZONA

                                                                                             11   Noel Hendrix, Individually and on Behalf           Case No. CV-20-01595-SPL
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                                  of All Others Similarly Situated,
                                                                                             12
                                                                                             13                        Plaintiffs,               FIRST AMENDED VERIFIED
                                                                                                                                                        COMPLAINT
                                                                                             14          v.                                   COLLECTIVE ACTION COMPLAINT
                                                                                             15   Chipotle Mexican Grill, Inc., a Delaware     UNDER 42 U.S.C. § 2000e, ET SEQ.
                                                                                                  Corporation,
                                                                                             16
                                                                                                                                                        (Jury Trial Requested)
                                                                                             17                        Defendants.
                                                                                             18
                                                                                             19          Plaintiff Noel Hendrix, individually, and on behalf of all other persons similarly
                                                                                             20
                                                                                                  situated, alleges as follows:
                                                                                             21
                                                                                                                                  PRELIMINARY STATEMENT
                                                                                             22
                                                                                             23          1.     Plaintiff and the Collective Members are current and former lactating female
                                                                                             24   employees of Defendants. They bring this action on behalf of themselves and all similarly-
                                                                                             25
                                                                                                  situated current and former lactating female employees of Defendants who were not given
                                                                                             26
                                                                                                  proper breaktime to pump breastmilk while on shift.
                                                                                             27
                                                                                             28          2.     Plaintiff and the Collective Members bring this action against Defendants

                                                                                                  alleging discrimination under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e.
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 3 of 10



                                                                                              1          3.     This is an action for equitable relief, back pay, front pay, compensatory and
                                                                                              2
                                                                                                  punitive damages under Title VII.
                                                                                              3
                                                                                                                                 JURISDICTION AND VENUE
                                                                                              4
                                                                                              5          4.     This Court has jurisdiction over the subject matter and the parties hereto

                                                                                              6   pursuant to 42 U.S.C. § 2000e, et seq. and 28 U.S.C. § 1331.
                                                                                              7
                                                                                                         5.     Venue is proper in this District because the acts giving rise to the claims of
                                                                                              8
                                                                                                  Plaintiff and the Collective Members occurred within the District of Arizona, and
                                                                                              9
                                                                                             10   Defendants regularly conduct business in and have engaged in the wrongful conduct
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11   alleged herein and, thus, are subject to personal jurisdiction in this judicial district.
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                                         6.     Plaintiff timely filed a Charge of Discrimination with the EEOC and has
                                                                                             13
                                                                                                  timely filed this Complaint.
                                                                                             14
                                                                                             15                                             PARTIES

                                                                                             16          7.     At all relevant times to the matters alleged herein, Plaintiff Noel Hendrix
                                                                                             17
                                                                                                  resided in the District of Arizona. At all relevant times, Plaintiff and Collective Members
                                                                                             18
                                                                                                  were was an employees of Defendants as defined in Title VII.
                                                                                             19
                                                                                             20          8.     Defendant is a corporation authorized to do business in Arizona, and was at

                                                                                             21   all relevant times Plaintiff’s and the Collective Members’ employer as defined by Title VII.
                                                                                             22
                                                                                                                                 FACTUAL ALLEGATIONS
                                                                                             23
                                                                                                         9.     Plaintiff was employed by Defendant from approximately March 2016 until
                                                                                             24
                                                                                             25   December 2016 at its 59th and Thunderbird location in Glendale, Arizona.

                                                                                             26          10.    Plaintiff was a nursing mother while employed with Defendant.
                                                                                             27          11.    Throughout the timeframe relevant to this Complaint, Plaintiff would inform
                                                                                             28
                                                                                                  her managers that she needed regular breaks to express breastmilk, which would typically
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 4 of 10



                                                                                              1   occur no more than once or twice per shift.
                                                                                              2
                                                                                                         12.    If Plaintiff did not timely pump breastmilk consistent with a regular schedule,
                                                                                              3
                                                                                                  her breasts would become painfully engorged, or her breasts would sometimes leak
                                                                                              4
                                                                                              5   breastmilk.

                                                                                              6          13.    On or about December 29, 2016, Plaintiff requested a short break to pump
                                                                                              7
                                                                                                  breastmilk.
                                                                                              8
                                                                                                         14.    Plaintiff’s managers refused to let her take a break to pump breastmilk,
                                                                                              9
                                                                                             10   claiming that the restaurant was too busy to authorize her break.
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11          15.    Plaintiff was also told that she should have managed her time better before
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                                  coming into work.
                                                                                             13
                                                                                                         16.    Plaintiff returned to her post working as a cashier, which is a high-volume,
                                                                                             14
                                                                                             15   customer-facing role.

                                                                                             16          17.    Approximately twenty minutes later, Plaintiff’s breasts began to visibly leak
                                                                                             17
                                                                                                  breastmilk through her shirt.
                                                                                             18
                                                                                                         18.    Plaintiff was very embarrassed because she was forced to interact with
                                                                                             19
                                                                                             20   customers in close proximity with a breastmilk-soaked shirt.

                                                                                             21          19.    Upon discovering that her breasts were leaking through her shirt, Plaintiff’s
                                                                                             22
                                                                                                  manager told her that she could take a break in fifteen minutes.
                                                                                             23
                                                                                                         20.    While she was waiting, Plaintiff’s undergarments and work uniform became
                                                                                             24
                                                                                             25   cold and soggy in plain view of guests.

                                                                                             26          21.    Approximately forty minutes after she was allowed to pump, two of
                                                                                             27   Plaintiff’s managers called her into the office to berate her.
                                                                                             28
                                                                                                         22.    Vinnie F (LNU) raised his voice during the confrontation in the tiny office.
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 5 of 10



                                                                                              1          23.    Vinnie F stated that he had a business to run and could not stop everything
                                                                                              2
                                                                                                  just because Plaintiff needed to pump breastmilk.
                                                                                              3
                                                                                                         24.    Vinnie F also told Plaintiff that her mother could call corporate, but that he
                                                                                              4
                                                                                              5   was “untouchable,” so there was no point.

                                                                                              6          25.    Vinnie F also stated that the whole team “had his back,” indicating that
                                                                                              7
                                                                                                  Plaintiff’s peers not only knew about the embarrassing event, but also that they had
                                                                                              8
                                                                                                  apparently chosen Vinnie F’s side.
                                                                                              9
                                                                                             10          26.    Vinnie F also threatened to complain to Plaintiff’s boss about her request to
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11   pump breastmilk during peak hours.
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                                         27.    After her managers harassed her for requesting to take a pump break, Plaintiff
                                                                                             13
                                                                                                  felt ashamed and embarrassed.
                                                                                             14
                                                                                             15          28.    Following the altercation, Plaintiff called Defendant’s respectful work

                                                                                             16   number on two or three occasions and left voicemails.
                                                                                             17
                                                                                                         29.    Defendant never responded to Plaintiff’s complaints.
                                                                                             18
                                                                                                         30.    Plaintiff is aware of other current or former female employees of Defendant
                                                                                             19
                                                                                             20   that were denied pumping breaks and/or that experienced similar hostility in the workplace.

                                                                                             21          31.    Plaintiff filed a Charge of Discrimination with the EEOC alleging that she
                                                                                             22
                                                                                                  was discriminated against on the basis of her gender/pregnancy in violation of Title VII.
                                                                                             23
                                                                                                         32.    The EEOC issued a Cause Determination concluding that:
                                                                                             24
                                                                                             25          there is reasonable cause to believe Respondent violated Title VII, the
                                                                                                         Pregnancy Discrimination Act of 1978, 42 U.S.C. § 2000e (k), when
                                                                                             26          Respondent subjected Charging Party to discrimination due to her sex,
                                                                                                         female (pregnancy), by preventing her from expressing breast milk at work,
                                                                                             27
                                                                                                         and openly expressing hostility and subjecting her to harassment about her
                                                                                             28          need to express milk at work.
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 6 of 10



                                                                                              1                          COLLECTIVE ACTION ALLEGATIONS
                                                                                              2
                                                                                                         33.    Plaintiff Hendrix brings this action on behalf of herself and all other similarly
                                                                                              3
                                                                                                  situated individuals. Plaintiff and the Collective Members are current and former lactating
                                                                                              4
                                                                                              5   female employees of Defendants. They bring this action on behalf of themselves and all

                                                                                              6   similarly-situated current and former lactating female employees of Defendants who were
                                                                                              7
                                                                                                  not given proper breaktime to pump breastmilk while on shift.
                                                                                              8
                                                                                                         The proposed collective class for the FLSA claims is defined as follows:
                                                                                              9
                                                                                             10          All current or former employees of Defendant, working in job positions
                                                                                                         in its restaurants, who requested to pump or express breast milk while
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11          on-shift, but were denied the request, and/or who were subjected to
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                                         hostility or harassment for requesting such pump breaks, between
                                                                                             12
                                                                                                         March 9, 2016 and January 3, 2017.
                                                                                             13
                                                                                                         34.     Plaintiff has given her written consent to be a party Plaintiff in this action.
                                                                                             14
                                                                                             15   Plaintiff’s signed consent form is attached as “Exhibit 1”. As this case proceeds, it is likely

                                                                                             16   that other individuals will file consent forms and join as “opt-in” plaintiffs.
                                                                                             17
                                                                                                         35.    The EEOC also determined that:
                                                                                             18
                                                                                                         Like and related to Charging Party's claim, and stemming out of the
                                                                                             19          Commission's investigation, the evidence further revealed that Respondent
                                                                                             20          subjected other Aggrieved Individual(s) to harassment due to their sex,
                                                                                                         female (pregnancy), in violation of Title VII, the Pregnancy Discrimination
                                                                                             21          Act of 1978, 42 U.S.C. § 2000e (k).
                                                                                             22
                                                                                                  As such, the Collective Members’ claims are preserved by Plaintiff’s timely filing of her
                                                                                             23
                                                                                                  EEOC Charge.
                                                                                             24
                                                                                             25          36.    At all relevant times, Plaintiff and the Collective Members are and have been

                                                                                             26   similarly situated, have had substantially similar job positions, and were each denied
                                                                                             27   reasonable break periods to express breastmilk while on-shift. Plaintiff’s claims stated
                                                                                             28
                                                                                                  herein are essentially the same as those of the Collective Members. This action is properly
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 7 of 10



                                                                                              1   maintained as a collective action because in all pertinent aspects of the employment
                                                                                              2
                                                                                                  relationship of individuals similarly situated to Plaintiff are identical or substantially
                                                                                              3
                                                                                                  similar.
                                                                                              4
                                                                                              5          37.    The claims of all Collective Members arise from a common nucleus of facts.

                                                                                              6   Liability is based on a systematic course of wrongful conduct by the Defendants that caused
                                                                                              7
                                                                                                  harm to all of the Collective Members.
                                                                                              8
                                                                                                         38.    Notice of this action should be sent to all similarly situated female employees
                                                                                              9
                                                                                             10   who were denied reasonable break time to pump breast milk at work, or else were subjected
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11   to hostility or harassment for requesting pump breaks while on-shift.
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                                         39.    There are numerous similarly situated current and former employees of
                                                                                             13
                                                                                                  Defendants who have been denied appropriate breaks to pump breastmilk or experienced
                                                                                             14
                                                                                             15   hostility for requesting pump breaks, who would benefit from a Court supervised notice of

                                                                                             16   the lawsuit and the opportunity to join the case. Those similarly stated employees are
                                                                                             17
                                                                                                  known to Defendants and are readily identifiable through Defendants’ records.
                                                                                             18
                                                                                                                       DISCRIMINATION IN VIOLATION OF
                                                                                             19                    TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                                                                                             20                                    (COUNT I)

                                                                                             21          40.    Plaintiff hereby incorporates by reference the allegations contained in
                                                                                             22
                                                                                                  paragraphs 1-38 above as though fully set forth herein.
                                                                                             23
                                                                                                         41.    Defendant is an employer within the meaning of the Civil Rights Act of 1964,
                                                                                             24
                                                                                             25   as amended by the Pregnancy Discrimination Act, 42 U.S.C. § 2000e et seq.

                                                                                             26          42.    Defendant’s actions as alleged herein constitute discrimination on the basis
                                                                                             27   of gender/pregnancy in violation of Title VII.
                                                                                             28
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 8 of 10



                                                                                              1             43.   Defendant intentionally discriminated against Plaintiff and the Collective
                                                                                              2
                                                                                                  Members, and acted with malice or reckless indifference to Plaintiff’s federally protected
                                                                                              3
                                                                                                  rights.
                                                                                              4
                                                                                              5             44.   As a result of Defendant’s discrimination, Plaintiff and the Collective

                                                                                              6   Members have has suffered damages in an amount to be proven at trial.
                                                                                              7
                                                                                                                          CONCLUSION AND PRAYER FOR RELIEF
                                                                                              8
                                                                                                            WHEREFORE, Plaintiff, individually, and on behalf of all other similarly situated
                                                                                              9
                                                                                             10   persons, respectfully requests that this Court grant the following relief in Plaintiff’s and the
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11   Collective Members’ favor, and against Defendants:
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                                            A.    Designation of this action as a collective action on behalf of Title VII
                                                                                             13
                                                                                                                  Collective Members (asserting Title VII claims) and prompt issuance of
                                                                                             14
                                                                                             15                   notice to all similarly situated members of the class, apprising them of the

                                                                                             16                   pendency of this action, and permitting them to timely assert Title VII claims
                                                                                             17
                                                                                                                  in this action by filing individual Consent to Sue forms;
                                                                                             18
                                                                                                            B.    For the Court to award compensatory damages in an amount to be determined
                                                                                             19
                                                                                             20                   at trial;

                                                                                             21             C.    For the Court to award punitive damages in an amount to be determined at
                                                                                             22
                                                                                                                  trial
                                                                                             23
                                                                                                            D.    For the Court to award prejudgment and post-judgment interest;
                                                                                             24
                                                                                             25             E.    For the Court to award Plaintiff’s reasonable attorneys' fees and costs;

                                                                                             26             F.    For the Court to provide reasonable incentive awards to each named Plaintiff
                                                                                             27                   to compensate them for the time they spent and risks they took in pursuing
                                                                                             28
                                                                                                                  this lawsuit; and
                                                                                                   Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 9 of 10



                                                                                              1          G.      An award of damages for all counts in an amount to be proven at trial;
                                                                                              2
                                                                                                         H.      An award of back pay and front pay;
                                                                                              3
                                                                                                         I.      Declaring the acts and practices complained herein are in violation of
                                                                                              4
                                                                                              5                  Title VII of the Civil Rights Act of 1964; and

                                                                                              6          J.      Such other relief as this Court shall deem just and proper.
                                                                                              7
                                                                                                                                       JURY DEMAND
                                                                                              8
                                                                                                         Plaintiff and the Collective Members hereby demands a trial by jury of all issues so
                                                                                              9
                                                                                             10   triable.
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11                         RESPECTFULLY SUBMITTED August 12, 2020 September 1,
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                                         2020.
                                                                                             13
                                                                                                                                             ZOLDAN LAW GROUP, PLLC
                                                                                             14
                                                                                             15                                         By: /s/ Jessica Miller                 Michael
                                                                                                                                        Zoldan
                                                                                             16                                              14500 N. Northsight Blvd, Suite 133
                                                                                                                                             Scottsdale, AZ 85260
                                                                                             17
                                                                                                                                             Attorneys for Plaintiffs
                                                                                             18
                                                                                             19
                                                                                             20
                                                                                             21
                                                                                             22
                                                                                             23
                                                                                             24
                                                                                             25
                                                                                             26
                                                                                             27
                                                                                             28
                                                                                                  Case 2:20-cv-01595-SPL Document 12-1 Filed 09/01/20 Page 10 of 10



                                                                                              1                                       VERIFICATION
                                                                                              2
                                                                                                         Plaintiff Noel Hendrix declares under penalty of perjury that she has read the
                                                                                              3
                                                                                                  foregoing Verified Complaint and is familiar with the contents thereof. The matters asserted
                                                                                              4
                                                                                              5   therein are true and based on her personal knowledge, except as to those matters stated upon

                                                                                              6   information and belief, and as to those matters, she believes them to be true.
                                                                                              7
                                                                                              8
                                                                                              9
                                                                                             10                                                    Noel Hendrix
ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                             11
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                             13
                                                                                             14
                                                                                             15
                                                                                             16
                                                                                             17
                                                                                             18
                                                                                             19
                                                                                             20
                                                                                             21
                                                                                             22
                                                                                             23
                                                                                             24
                                                                                             25
                                                                                             26
                                                                                             27
                                                                                             28
